       Case 2:18-cv-02405-GW-AFM Document 27 Filed 07/16/18 Page 1 of 1 Page ID #:97
Name, Address and Telephone Number of Attorney(s):
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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER:
CARMEN JOHN PERRI, an individual,
                                                                          2:18-cv-2405-GW-AFM
                                                         Plaintiff(s)
                                v.

AUTOZONE #5439, a business of unknown form;
WAHOOVER LLC a California limited liability                                      STIPULATION REGARDING
company; and DOES 1-10, inclusive,                                            SELECTION OF PANEL MEDIATOR
                                                      Defendant(s).


CHECK ONLY ONE BOX:

  ✔     The parties stipulate that               John Mitchell                 may serve as the Panel
        Mediator in the above-captioned case.             Plaintiff's Counsel          has contacted
                                                                  (Print Name)
        the Panel Mediator and obtained the Panel Mediator's consent to serve on a pro bono basis for
        three (3)hours. All parties and the Panel Mediator have agreed that the mediation will be held
        on       7/24/2018         and counsel will submit mediation statements seven (7) calendar days
                    (Date)
        before the session.
        The parties request that the ADR Program staff assign to the above-captioned case a Panel
        Mediator with expertise in the following area of law :

      Dated: July 13, 2018                                         /s/ Craig Cote
                                                                 Attorney For Plaintiff   Carmen John Perri


      Dated:
                                                                 Attorney For Plaintiff


      Dated: July 16, 2018                                         /s/ Alex Craigie
                                                                 Attorney For Defendant ALL DEFENDANTS


      Dated:
                                                                 Attorney For Defendant

   Attorney for Plaintiff to electronically file original document.


 ADR-02 (08/16)                        STIPULATION REGARDING SELECTION OF PANEL MEDIATOR
